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                                LTNITED STATES DISTRICT COIJRT
                                EASTERN DISTRICT OF MISSOTJRI
                                       EASTE,RN DIVISION

 IJNITED STATES OF AMERICA,                             )
                                                        )
      Plaintiff,                                        )
                                                        )
 V.
                                                        )   No.4:19-CR-966 SRC
 TYKtrSE LOFTON                                         )
                                                        )
      Defendant.                                        )
                                                        )

   JOINT MOTION TO SCHEDULE CASE FOR CONSOLIDATED PLEA AND
SENTENCING HEARING AND T'OR PREPARATION AND DISCLOSURE OF A PRE.
                   PLEA PRESENTENCE REPORT

         Come now the parties, defendant, Tykese Lofton, represented by defense counsel,

Charles J. Banks, and the United States of America, represented by the Office of the United

States Attorney for the Eastern    District of Missouri, through Allison Behrens, Assistant United

States Attorney, and    notiff the Court that: (1) the parties have   reached a guilty plea agreement,

(2) the parties jointly move to schedule the case for consolidated plea and sentencing hearing;

and (3) under Federal Rule of Criminal Procedure 32(e)(l),the defendant consents to the

preparation and pre-plea disclosure of the Presentence Investigation Report.

         In support of the motion, the parties state as follows:

         1.        The parties have reached a guilty plea agreement, which resolves all charges

pending against defendant. Defendant is prepared to plead guilty pursuant to the written

agreement which is being furnished to the United States Probation office via electronic mail to

MOEPmI PSRSUSPO@moep.uscourts. gov simultaneously with this pleading.




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       2.      The parties ask the Court to schedule a consolidated plea and sentencing hearing

no earlier than 90 days from the date the Court grants this joint motion.

       3.      The defendant asks the Court to direct the United States Probation Office to

prepare a presentence report under Fed. R. Crim. P. 32(d). The defendant has discussed     with

counsel the fact that under Fed. R. Crim. P. 32(e)(1), the probation office may not submit the

presentence report to the Court or anyone else until after the defendant has pleaded guilty, unless

the defendant has consented to early disclosure in writing. The defendant consents and asks the

Court to allow the probation office to disclose the report to the Court and the parties no later than

35 days prior to sentencing.

       4.      Following disclosure of the presentence investigation report, the parties will

submit objections within 14 days. The final presentence investigation report will be filed at

least 7 days prior to sentencing. The confidential sentencing recorlmendation from United States

Probation Office will be submitted at least 7 days prior to the consolidated plea and sentencing

hearing.

       5.      The defendant agrees that the Court may make a finding that the ends ofjustice

served by the delay in setting the consolidated hearing outweigh the best interests of the public

and the defendant in a speedy   trial under 18 U.S.C. $ 3161(hX7XA), (hX7)(B)(i) and

(h)(7)(B)(iv), and that the Court may exclude the time between the filing of this motion and the

date of the consolidated hearing from the Speedy Trial calculation.




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                                          Assistant IJnited States Attorney




  912212020                                ls/Iykese Lqn '
     Date                                 TYKESE LOF'TON
                                          Defendant


  912212020                                lslCharles J.
     Date                                 CHARLES J. BANKS
                                          Attorney for Defendant




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